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U.S. Depariu..ent of Justice

United States Attorney
District of New Mexico

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August 16, 2006

VIA FACSIMILE: (505) 346-2395
Honorable Judith C. Herrera

United States District Court

333 Lomas Blvd. N.W., Suite 710,
Albuquerque, New Mexico 87102

RE: United States vy. Dana Jarvis, et al., CR. No. 05-1849 JH

Dear Judge Herrera:

At the conclusion of the Evidentiary Hearing on August 11, 2006, the Court posed
questions and requested that the United States respond. The Court asked how long the United
States intended to keep Mr. Jarvis in segregation. Due to the specific potentially on-going nature
of the threat of physical harm uncovered by the investigation, the United States intends that Mr.
Jarvis remain in segregation indefinitely. The threat involved the use of witting and unwitting
third parties with whom Mr. Jarvis had contact. Segregation is intended to prevent contact with
third parties who could carry out a threat both within and without the institution. It is important
to note that Mr. Jarvis was not placed in administrative segregation for violation of the Regional
Correctional Center (RCC) rules, but for a specific threat to the safety of others.

The Court also requested information regarding limitations on telephone calls in general
population as opposed to segregation. The only difference is that the telephone is taken to an
inmate in segregation rather than allowing the inmate to use the telephone in a public area. It is
our understanding that the time frame for use of the telephone is the same.

Access to attorneys is the same for inmates in segregation and inmates in general
population. Likewise, the interview room is the same. Moreover, unlike other inmates, Mr.
Jarvis has unrestricted and unlimited access to counsel.

Throughout the course of these proceedings, the United States has responded to and
addressed each concern Defendant has raised regarding his participation in preparation of his
defense, including a site evaluation by a Supervisory AUSA to assure that guards cannot
overhear defendant's conversations.

The United States suggests that if the Court considering expansion of allowable contact
with his defense team that the Court modify conditions to allow Mr. Jarvis to contact his defense
investigator directly. However, the United States would request a reasonable time for the
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Marshal’s Service to conduct a background check of the investigator and that the investigator be
directed not to function as a conduit for the provision of communications between defendant and.
third parties, either orally or in writing, i.e. carrying correspondence out of the institution.

Thank you for your attention to the matters discussed in this letter. If the Court has
further questions or concerns, please advise and I will do my best to address any concerns.

Sincerely,

DAVID C. IGLESIAS

United States Attorney
STEPHEN R. KOTZ

Assistant United States Attorney

cc: Joe Romero, Esq.

SRK/mm
